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              Exhibit 14
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·6· · · · · · · · · · · · ·PBS NewsHour
·7· ·WATCH:· Georgia election officials reject Trump call to
·8· · · · · · · · · · · ‘find’ more votes
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·1· · · · ·GABRIEL STERLING:· So as of right now, we
·2· ·have 962,886 mail-in absentee ballots received.
·3· ·There's 281,376 that are still outstanding.
·4· · · · ·I'm hoping to get the military received and
·5· ·outstanding before the end of this press
·6· ·conference, which will hopefully come in on my
·7· ·cell phone.
·8· · · · ·Early vote in person -- obviously, we
·9· ·smashed a record for turnout on that one.· We're
10· ·at 2,074,857.· So that means right now we're
11· ·looking at 3,027,743 votes that have already been
12· ·cast across Georgia.
13· · · · ·Now, the previous record for a runoff
14· ·election was in 2004 -- I think that's right --
15· ·Saxby Chambliss race, which was 2.1 million votes
16· ·that were cast.· That is the previous record.· And
17· ·in the election 2018, the runoff election, we saw
18· ·just under 1.5 million.
19· · · · ·So, obviously, a lot of interest.· I'm sure
20· ·Georgians are tired of TV ads, text messages,
21· ·voicemails, and mail; so it's all going to end
22· ·very soon, hopefully.
23· · · · ·In preparation for the election tomorrow,
24· ·on Election Day voting, we have 6,963 poll pads.
25· ·They finished the final loading of -- of their


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·1· ·data today before lunch.· We had about 21
·2· ·counties, which are the last ones to go, most of
·3· ·them completed over the weekend.
·4· · · · ·There will be a total of 6,009- -- oh,
·5· ·sorry -- 2,648 polling locations open on Election
·6· ·Day.· We have a couple of them closed due to some
·7· ·shortages, and some other Covid-related items; but
·8· ·the total we have right now is 2,648.· We don't
·9· ·anticipate changes, but that always may happen.
10· · · · ·We have shared those locations with Georgia
11· ·Power and the EMCs in case there's power issues or
12· ·any other issues that might come up from that.
13· ·And we've seen a few shortages of poll workers; so
14· ·-- I think specifically we saw Morgan County,
15· ·they're going to lose two locations because of
16· ·that.
17· · · · ·Now, what we've seen also is a difference
18· ·in the turnout models depending on congressional
19· ·district and county in the state, so far in large
20· ·part driven by the continuing misinformation and
21· ·disinformation concerning the value of people's
22· ·votes in this state.
23· · · · ·The Secretary wants me to make clear that
24· ·everybody's vote is going to count.· Everybody's
25· ·vote did count.· I want to make that abundantly


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·1· ·clear.
·2· · · · ·If you care about, you know, the values and
·3· ·direction of the nation you want to see, it is
·4· ·your obligation to turn out and vote tomorrow, be
·5· ·you Democrat or Republican.· However, right now
·6· ·given the nature of the President's statements and
·7· ·several other people who have been aligned with
·8· ·him previously, who literally had a rally saying
·9· ·protest and don't vote, we are specifically asking
10· ·you and telling you, please turn out and vote
11· ·tomorrow.
12· · · · ·One of the things, specifically, I've had
13· ·to argue with people whom I've known for 20 years,
14· ·they say:· Well, we feel like our election was
15· ·stolen; we feel like our votes don't count.
16· · · · ·And I said:· Okay, I'm not acknowledging
17· ·the election stolen, because it wasn't.· I'm not
18· ·acknowledging that there was massive voter fraud,
19· ·because there wasn't.
20· · · · ·I said:· But if you believe in your heart
21· ·of hearts that there was, the best thing for you
22· ·to do is to turn out and vote and make it harder
23· ·for them to steal.· If that's what you genuinely
24· ·in your heart of hearts believe, turn out and
25· ·vote.


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·1· · · · ·There are people who fought and died and
·2· ·marched and prayed and voted to get the right to
·3· ·vote.· Throwing it away because you have some
·4· ·feeling that it may not matter is self-destructive
·5· ·ultimately, and a self-fulfilling prophecy in the
·6· ·end.
·7· · · · ·So everybody who cares about the future of
·8· ·this nation should turn out and vote (inaudible)
·9· ·it's vitally important.· It's absolutely
10· ·important.· And the reason I'm having to stand
11· ·here today is because there are people in
12· ·positions of authority and respect who have said
13· ·their votes didn't count, and it's not true.
14· · · · ·And I'm going to do it again, and I'm going
15· ·to go through all this anti-disinformation Monday
16· ·-- it's -- it's whack-a-mole again.· It is
17· ·Groundhog Hay again.· I'm going to get to talk
18· ·about things that I've talked about repeatedly for
19· ·two months, but I'm going to do it again one last
20· ·time, I'm hoping.
21· · · · ·Because at the end of the day we want to
22· ·make sure people understand their votes count,
23· ·every person, every voice matters.· And I know
24· ·that there's people who fought for that for years
25· ·about this.


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·1· · · · ·So let's -- let's start again.· And, yes,
·2· ·some of this is going to come out of the
·3· ·continuing statements from the President, and some
·4· ·of his supporters.· State fund.· All right.· This
·5· ·has been one that's been conflated over several
·6· ·different things.· We have multiple scan ballots,
·7· ·we have Ruby Freeman, we have the leak, but it
·8· ·says water main break, which wasn't a water main
·9· ·break.
10· · · · ·So in order to be fully transparent -- I
11· ·mean, one of the things we did we --· we had a
12· ·local media organization (inaudible) Just- --
13· ·Justin over here, we went through it for hours and
14· ·hours, we walked through frame by frame and showed
15· ·what happened.
16· · · · ·So let's start:· If you go to
17· ·securevotega.com, we have posted all the videos
18· ·from State Farm for that day to cover the relevant
19· ·periods.· 5:23 a.m., the -- they walk in, and they
20· ·discover what is essentially a pond on the floor,
21· ·where you can see water coming out of the sky.
22· · · · ·So they say:· Okay, we can't do our work
23· ·here this morning.· They call in the State Farm
24· ·people -- it's not Fulton County people, which is
25· ·one of the other things they said, there's no


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·1· ·Fulton County work order to fix the water leak.
·2· ·And guess what?· It wasn't in a Fulton County
·3· ·facility, it was the State Farm.· So they were the
·4· ·ones who fixed the leak, and it was a urinal that
·5· ·had overflowed, because they were turned off
·6· ·because -- guess what, nobody's in State Farm
·7· ·because of Covid, other than this particular
·8· ·usage.
·9· · · · ·So they turned off all those things and it
10· ·went over the edge of the relief valve, and that's
11· ·what caused the leak.· So they come in.· Then you
12· ·go to another one about 7:00 in the morning or so,
13· ·where you have essentially the -- I don't know
14· ·what to call it -- the drying Zamboni, is driving
15· ·around on the carpet, cleaning it all up.· Then at
16· ·about 7:00 -- or 8:23, you see a woman bringing in
17· ·the table in question that has been the point of
18· ·Mr. Giuliani's 90-second clip.· She's pulling it
19· ·with one hand, and she sets it down.· There's
20· ·nothing underneath it.· Okay?
21· · · · ·Then you can fast forward to later in the
22· ·day, about 9:45 or so; everybody there -- there
23· ·were two groups of people there.· There's cutters
24· ·and there are scanners.· What happened was, the
25· ·cutters began putting their stuff away because


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·1· ·everybody's under the impression they were going
·2· ·to get home.· We have discovered this.· So they
·3· ·start putting covers over the cutting machines,
·4· ·and everything.
·5· · · · ·So then we see also while the monitors in
·6· ·the press are still in the room, they bring out
·7· ·the carriers which are normal absentee ballot
·8· ·carriers.· And I will admit, when I listened to
·9· ·the audio of the phone call and the President
10· ·brought that up again and I heard it on a radio ad
11· ·again today, I wanted to scream -- well, I did
12· ·scream at the computer, and I screamed in my car
13· ·at the radio talking about this, because this has
14· ·been thoroughly debunked.
15· · · · ·They bring out the normal absentee ballot
16· ·carriers, there are monitors in the room.· There
17· ·is press in the room.· They take the ballots that
18· ·have been opened, put them in carrier trays, and
19· ·put them in there and then -- put them in the
20· ·boxes, put the lid onto -- the lid matches the
21· ·box, and then you see at one point during the
22· ·video a woman crawling on the floor putting the
23· ·numbered seals on him so they can keep the chain
24· ·of custody.
25· · · · ·Approximately, 10:25-10:30, the Secretary


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·1· ·in our office receives word that Fulton County is
·2· ·shutting down for the night at -- at State Farm
·3· ·arena.· So as some of y'all who were there on
·4· ·Election might recall the Secretary got a little
·5· ·irritated with this and made his feelings quite
·6· ·known.· He said:· Some of us will be working
·7· ·through the night, we're glad to see that Fulton
·8· ·County sees the need to just go ahead and knock
·9· ·off for the evening.
10· · · · ·So Chris Harvey, our elections director,
11· ·then calls Rick Barron, the elections director for
12· ·Fulton County, who was at the other location,
13· ·which was their English Street Warehouse, because
14· ·he was doing Election Day activities.· Chris calls
15· ·Rick.
16· · · · ·Rick says:· We're not shutting down.· Well,
17· ·Chris says:· It looks like you are.
18· · · · ·So then you can go back to the videotape
19· ·and see Ralph Jones take a phone call at,
20· ·approximately -- almost 11 o'clock.· And you can
21· ·see his shoulders kind of shrug.· He takes the
22· ·phone call; he's being told at that point by his
23· ·boss Rick Barron:· You need to stay and continue
24· ·to scam.
25· · · · ·So he hangs up the phone.· He goes over to


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·1· ·them boxes, put some more seals on them, because
·2· ·obviously -- if you watch the videotape, many of
·3· ·the people that are there have been there since
·4· ·7:00 in the morning.· It's already 11 o'clock at
·5· ·night.· They were all under the impression they
·6· ·were going to get to go home.
·7· · · · ·So you see him spend about 30 seconds
·8· ·going:· Heck, what am I going to say to these
·9· ·people?· So he walks back over to the corner of a
10· ·desk and says:· I got the word, we got to keep on
11· ·scanning.
12· · · · ·So they go back to the boxes that they --
13· ·you see them put under the table at the --
14· ·approximately, ten o'clock hour.· There is
15· ·videotape of this.
16· · · · ·And this is what's really frustrating, the
17· ·President's legal team had the entire tape, they
18· ·watched the entire tape, and then from our point
19· ·of view, intentionally misled the State Senate,
20· ·the voters, and the people United States about
21· ·this.
22· · · · ·It was intentional.· It was obvious.· And
23· ·anybody watching this knows that.· Anyone watching
24· ·it knows that.· That's why we released the entire
25· ·tape for people to watch.


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·1· · · · ·So there's this claim that that was done.
·2· ·So they pull those out and begin to scan.· Then
·3· ·the other claim comes about a woman named Ruby
·4· ·Freeman and multiple scanning.· One of the things
·5· ·you need to understand is a normal ballot
·6· ·processing -- if there is a problem with a ballot,
·7· ·what it does is it stops, but before that four or
·8· ·five will get through; so they say:· Delete that
·9· ·last batch, and rescan it so they scan properly.
10· ·That is the normal process that is done.
11· · · · ·Secondarily to that, everybody might be
12· ·familiar with the fact the President wanted us to
13· ·do a hand recount, a hand re-tally, which we ended
14· ·up doing under our audit.· That audit showed that
15· ·there was no problem with machine scanning.· If
16· ·somebody took a stack of ballots and scanned them
17· ·multiple times, you would have a lot of votes with
18· ·no corresponding ballots.
19· · · · ·So let's go over the numbers one more time:
20· ·Statewide it was a -- for the (inaudible) number
21· ·of ballots they were off by .1053 percent.· For
22· ·the margin they were off by .0099 percent.· Which
23· ·shows that the machine scanned properly, our
24· ·counties did a great job of following these
25· ·batches, and doing the hand count properly,


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·1· ·appropriately, with scrutiny and with observers.
·2· · · · ·So let's put that to bed right now.
·3· · · · ·And one of the other things we -- we did as
·4· ·part of our transparency is, we have put all of
·5· ·those tally sheets online for every county so you
·6· ·can go through and look at them all.· And it's at,
·7· ·again, the securevotega.com.
·8· · · · ·Let's see -- let's go over the numbers the
·9· ·President's team is claiming.· We have a little
10· ·chart over here.· They're claiming there were
11· ·2,056 felons that voted.· Our research -- and we
12· ·have better data because we're directly tied to
13· ·the state government on this, by the Department of
14· ·Corrections, and -- the -- the other department --
15· ·which I can't know recall what it's called right
16· ·now -- basically attracts when people are on
17· ·probation -- there we go.
18· · · · ·We know exactly how many people voted for
19· ·this, because we have an outward bound of 74
20· ·potential people who are felons voted.· What that
21· ·means is, that's the biggest number it could be.
22· ·We will investigate and find out if some of these
23· ·people completed their sentences, some of these
24· ·people have the same name and birth date; so
25· ·there'll be some crossover there.· So 74 is the


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·1· ·outward bound, it's going to be lower than that.
·2· ·So let's be clear about that.
·3· · · · ·Then there's the claim that 66,248 people
·4· ·below the age of 18 voted.· The actual number is
·5· ·zero.· Let me be clear:· 66,000 versus zero.· And
·6· ·the reason we know that is because the dates are
·7· ·on the voter registration.· There are four cases
·8· ·-- four where people requested their absentee
·9· ·ballot before they turned 18, but they turned 18
10· ·by Election Day.· That means that is a legally
11· ·cast ballot.
12· · · · ·So, again, 66,000, which is the biggest
13· ·single number they have on these kind of votes,
14· ·versus zero.
15· · · · ·They say that there's 2,423 people who
16· ·voted without being registered.· Let's just be
17· ·clear about this:· You can't do it.· There cannot
18· ·be a ballot issue to you.· There's no way to tie
19· ·it back to you.· There's no way for them to have a
20· ·name to correspond back to unless they are
21· ·registered voters.· So that number is zero.
22· · · · ·Then we've got 1,043 illegally voted using
23· ·a P.O. Box.· Again we're going through the
24· ·investigation on this; so far everyone we've seen
25· ·has been when there is a mailboxes, et cetera, or


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·1· ·something like that in a multifamily building,
·2· ·like an apartment, so you will have what looks
·3· ·like P.O. boxes listed in the system, but they're
·4· ·actually the residential address of record for
·5· ·people who live in multifamily housing, like
·6· ·apartments.· So that's everything we've seen.· So
·7· ·we haven't seen anybody actually registering to
·8· ·vote at a -- at a USPS P.O. Box.
·9· · · · ·The next one is 4,926 voted past the legal
10· ·registration deadline.· Again, it's zero.· We have
11· ·zero record of anybody doing that, because the
12· ·voter registration cutoff is the voter
13· ·registration cutoff.· So there's -- there's no
14· ·corresponding way to do that.· They couldn't be
15· ·issued a ballot because they are not legally
16· ·within the system of that to have ballots issued.
17· ·10,350 who died before the election.
18· · · · ·Again, our information from the Department
19· ·of Vital Records, we go through county by county,
20· ·shows potentially two.· So far two.· It could
21· ·change, it could go -- but it's not 10,000.
22· · · · ·395 cast ballots in two states, we're
23· ·investigating that.· But again, then -- and we got
24· ·double voters, which we're investigating -- but
25· ·again, we're talking handfuls, not tens of


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·1· ·thousands.· Let's remember -- I think we're all
·2· ·very clear on the number now, that it was 11,779.
·3· ·We've seen nothing in our investigations of any of
·4· ·these data claims that shows there's nearly enough
·5· ·ballots to change the outcome.
·6· · · · ·And the Secretary and I at this podium have
·7· ·said since November 3rd, there is illegal voting
·8· ·in every single election, in the history of
·9· ·mankind, because there are human beings involved
10· ·in the process.· It's going to happen.· It's a
11· ·question of limiting it and putting as many
12· ·safeguards as you can in place to make sure it
13· ·doesn't happen.
14· · · · ·All right.· Oh, yeah, we had part of the
15· ·hand tally be discussed in relation to the
16· ·potential double scanning.· Let's just go to the
17· ·other ridiculous claims, the Dominion voting
18· ·machines are somehow using fractional voting or
19· ·flipping votes.· Again, by doing the hand tally,
20· ·it shows none of that is true.· Not a wit.
21· · · · ·And let's go back to the overall claims
22· ·about Dominion voting systems in general.· If you
23· ·look in Wisconsin, they're claiming Wisconsin was
24· ·stolen through Dominion voting machines.· In the
25· ·14 counties in which Dominion voting machines were


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·1· ·used in Wisconsin, the President got 59 percent of
·2· ·the vote.
·3· · · · ·And the -- in the counties in Pennsylvania
·4· ·where Dominion voting machines were used, he got
·5· ·52 and-a-half percent of the vote; he made a claim
·6· ·at one point that 900,000 votes were deleted by
·7· ·Dominion machines, and the 14 counties where that
·8· ·-- where that happened, they had 1.3 million
·9· ·people vote.· That was 70-some-odd percent plus --
10· ·a 76 percent turnout, in order for 900,000 to have
11· ·been deleted, they would have had to have 160
12· ·percent -- no, 130 percent turnout.· That did not
13· ·happen, because it cannot happen.
14· · · · ·Again, this is all easily provably false;
15· ·yet, the President persists.· And by him doing so
16· ·undermines Georgian's faith in the election
17· ·system -- especially Republican Georgians in this
18· ·case, which is important because we have a big
19· ·election coming up tomorrow; and everybody
20· ·deserves to have their vote counted, if they want
21· ·it to be, Republican and Democrat alike.
22· · · · ·Now, let's move on to signature matching.
23· ·There were claims about signature matching being
24· ·-- not being done.· They were -- and they were
25· ·based on feelings, we believe no specific evidence


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·1· ·was ever brought up until in one of the Trump
·2· ·filings there was a specific allegation that
·3· ·signature verification was not being done on the
·4· ·absentee ballot request form properly in Cobb
·5· ·County during the June primary.
·6· · · · ·So that's the first time we had a specific
·7· ·actionable claim of signature match not being
·8· ·done.· So with that in mind, the Governor
·9· ·graciously offered -- after the Secretary and he
10· ·discussed potentially using GBI resources.· So we
11· ·got GBI to come alongside the Secretary of State
12· ·investigators, multiple teams, Vic Reynolds stood
13· ·here last week to announce the outcome of that,
14· ·and of the 15,118 absentee ballot envelopes that
15· ·they investigated, they found two with potential
16· ·problems.· Two.· 99.99 was -- was properly done.
17· · · · ·And of those two, the actual voter who was
18· ·intended to be marked as voting, was the actual
19· ·voter.· There -- they could have been done through
20· ·a cure period, which would be a better way to do
21· ·that.
22· · · · ·Another thing they want to talk about is
23· ·the vast difference in rejection rates.· Well,
24· ·what we've seen is, there was not a vast
25· ·difference in rejection rates.· What's happening


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·1· ·is, in order to confuse people, because they don't
·2· ·understand election systems, is they're conflating
·3· ·the entirety of absentee ballots that were
·4· ·rejected, versus those that were rejected for
·5· ·signature mismatch or missing a signature.
·6· · · · ·Now, we're also comparing apples to
·7· ·oranges.· In '16 -- I've done this so long I can't
·8· ·-- I don't want to screw up these numbers, but I'm
·9· ·going to give the general -- don't hold me to this
10· ·exact number -- I think it was 0.26 percent in
11· ·'18.· It was 0.16 percent and -- in 2020, so far
12· ·it's 0.15 percent.· We've got some updated numbers
13· ·on this now, and the difference is in 2019, HB316
14· ·was passed, which allowed there to be curing of
15· ·ballots.· So there are teams of Republicans and
16· ·Democrats, young people running around the state
17· ·as we speak, finding people who have signature
18· ·issues to cure their ballots.· That's going on
19· ·right now.
20· · · · ·And the Democrats did a much better job of
21· ·that during the general election; the Republicans
22· ·were not prepared.· The Democrats had their own
23· ·forms set up, they had teams set up, they were
24· ·ready to go.· It was sort of a late entry on the
25· ·Republican side to do some of those.


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·1· · · · ·And about 5,000 total ballots were rejected
·2· ·for some purpose, and about 2600 of those were
·3· ·cured; so that means the final rejection number
·4· ·was around 2400 ballots around the total of 5
·5· ·million, or a percentage of 1.3 million that we
·6· ·saw that were voted absentee.
·7· · · · ·Let's go into some of the more new things.
·8· ·There is no shredding of ballots going on.· That's
·9· ·not real.· It's not happening.· There's no --
10· ·there's shredding of envelopes that were the
11· ·non-used ones or there's also shredding of the
12· ·secrecy envelopes that came through; and we saw
13· ·some of those in the Senate hearing, and it's
14· ·obvious that they are the secrecy envelopes, which
15· ·have no evidentiary value, because there's no
16· ·signature on it, there's no way to match it back,
17· ·they're just -- they're just basically trash.
18· · · · ·The -- the law requires you keep the
19· ·signature and oath envelopes and the ballots
20· ·themselves for 22 months.· Those are all being
21· ·kept.
22· · · · ·Let's see -- this is what I don't fully
23· ·understand:· No one is changing parts or pieces
24· ·out of Dominion voting machines.· That is --
25· ·that's -- that's not a real -- I don't even know


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·1· ·that means.· It's not a real thing.· That's not
·2· ·happening.· The President mentioned on the call
·3· ·yesterday or -- or from two days ago that's --
·4· ·again, not real.· I don't even know how -- how
·5· ·exactly to explain that.
·6· · · · ·Let's see, Secretary Raffensperger does not
·7· ·have a brother named Ron Raffensperger.· That is
·8· ·also not real.· The President tweeted that out as
·9· ·well.
10· · · · ·It's -- let's see.· I got such a long list.
11· ·Oh, yes, the other really fantastical thing we saw
12· ·the other day was a potential hacking of Dominion
13· ·equipment during a Senate hearing last week.· That
14· ·did not happen either.
15· · · · ·Let's go over a couple reasons why:· First
16· ·of all, ballot marking devices and scanners,
17· ·neither one have modems.· It's very hard to hack
18· ·things without modems.· There's nothing to talk
19· ·to.· So let's get that clear.
20· · · · ·The poll pads, which is a no-ink device,
21· ·does have the ability to connect to Wi-Fi, which
22· ·we use it for loading purposes, and in case
23· ·there's an issue on Election Day, but they are not
24· ·hooked up live all the time.
25· · · · ·And if they saw anything -- they could see


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·1· ·traffic back and forth, but it would, basically,
·2· ·be like watching a river go by, you couldn't get
·3· ·in.· It's -- it's essentially if they did; which
·4· ·we have no proof of.
·5· · · · ·We have claim after claim after claim with
·6· ·zero proof.· Zero.· And signed affidavits are part
·7· ·of an evidentiary trail, but they have to be
·8· ·investigated.· And let's remember, everybody who
·9· ·came and gave testimony -- it was public comment
10· ·-- at the State Senate hearing; this office was
11· ·never asked to come and discuss those items with
12· ·that State Senate hear- -- State Senate
13· ·subcommittee.· That didn't happen either; which I
14· ·find interesting because, obviously, they're
15· ·making wild claims that -- again, undermine
16· ·people's faith in the system.
17· · · · ·Let's see -- oh, yeah; this is another one
18· ·that came over the weekend from the former -- from
19· ·the founder of overstock.com, that they had found
20· ·thousands and thousands of fake ballots in a
21· ·Fulton County warehouse.· For any of you all in
22· ·the press who have been to the Fulton County
23· ·warehouse, these are the emergency ballots that
24· ·have been sitting in that warehouse since before
25· ·the November election, very much in plain view,


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·1· ·everybody to see.
·2· · · · ·And what happened -- the reason they had a
·3· ·high number -- first of all, every county has to
·4· ·have those emergency ballots by -- by rule.· The
·5· ·State Election Board rule says you have to have 10
·6· ·percent of the available ones for each polling
·7· ·location, and they have to be printed for that
·8· ·polling location for the ballot (inaudible), so
·9· ·they can track it properly.
10· · · · ·In Fulton County's case, you all may
11· ·remember that there was a Covid outbreak in their
12· ·warehouse, not long before the logic and accuracy
13· ·testing period was happening for the general
14· ·election.· In a very wild abundance of caution
15· ·they had what they referred to as not Plan A, not
16· ·Plan B, what they referred to as Plan C, which was
17· ·if we can't get people in to do the logic and
18· ·accuracy testing on all of our equipment, we're
19· ·going to print up 100 percent of our ballots we
20· ·need to let hand-marked ballots be what we have to
21· ·do if we cannot get the machines done.
22· · · · ·They did that out of an abundance of
23· ·caution given the unknowable unknowns surrounding
24· ·Covid and their ability to get employees in to do
25· ·that.· They were thankfully able to get the


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·1· ·employees in.· Dominion staff came in to help them
·2· ·make sure they got a logic and accuracy test done;
·3· ·so they were able to deploy all of their BMVs and
·4· ·BMD carriers and scanners, so they didn't have to
·5· ·use those ballots; but that's why those ballots
·6· ·existed.
·7· · · · ·They are not fake ballots.· They are real
·8· ·ballots.· They are unused ballots.· And what I
·9· ·find really interesting about this is they were in
10· ·shrinkwrapped items, in boxes that are sealed;
11· ·what can you do with those?· They're sitting right
12· ·there.· Everybody saw them.
13· · · · ·Let's see -- I'm trying to think what --
14· ·what other -- here's part of the problem, y'all --
15· ·I sit (inaudible) try to write down everything
16· ·that we see that comes over the Internet as a --
17· ·as a potential thing of disinformation.· It gets
18· ·exploded.· We all look at these things, we know
19· ·there's lots of bots that are doing it.· We have
20· ·foreign powers that are pushing some of these
21· ·things at the same time.
22· · · · ·So here's the takeaway from all this:· This
23· ·office has been open and transparent.· We are
24· ·continuing investigations.· There are questions
25· ·about pristine ballots.· That's one last thing,


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·1· ·the pristine ballot thing.· There are three
·2· ·reasons you can have the, quote-unquote, pristine
·3· ·ballot; which is, essentially, the absentee,
·4· ·slash, emergency, slash, provisional ballot.
·5· · · · ·There's -- the first one, military and
·6· ·overseas voters oftentimes will get what they call
·7· ·an electronic ballot; what happens is, once we get
·8· ·the ballot built, starting the 49th or the 45th
·9· ·day, we will send e-mails out to those people who
10· ·-- who want to have electronic ballot delivery,
11· ·which is many of our military servicemen and
12· ·women.· So they take that, they print it, and they
13· ·bubble in their choices.
14· · · · ·Now, obviously, that's on an eight
15· ·and-a-half by 11 piece or 11 by 14 where they can
16· ·print it on, so it's not sized properly to go
17· ·through a scanner.· So when that comes back to the
18· ·county, they will duplicate that on a flat,
19· ·unfolded piece of paper, on the absentee ballot,
20· ·slash, emergency ballot.· That's a normal process
21· ·for many of the military and overseas voters that
22· ·are electronically delivered.
23· · · · ·The other situation you might see that in
24· ·is an emergency ballot situation.· If a ballot
25· ·marking device goes down or wasn't used, which is


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·1· ·the case we saw in the morning in Spalding County
·2· ·on Election Day, they will use the emergency
·3· ·ballots as backup.· And those will just be scanned
·4· ·directly in the machine and not folded.· And the
·5· ·-- the final place you would see that is on a
·6· ·damaged or adjudicated ballot that was not
·7· ·adjudicated through the electronic system.· Or in
·8· ·Fulton's case, what you saw was they were putting
·9· ·so many of the absentee ballots through their
10· ·cutters, that occasionally it would catch the
11· ·ballot itself and slice it.
12· · · · ·In Fulton County's case they did the vast
13· ·majority -- I think 100 percent of their
14· ·duplication on a BMD.· In Cobb County's location,
15· ·I think they did all those on hand-marked paper
16· ·ballots.· So there's a difference of use and
17· ·processes within each one of the counties.· So
18· ·that's why you would see quote/unquote pristine
19· ·ballots.
20· · · · ·Wednesday:· We've all heard the reports
21· ·that there's going to be several Senators and
22· ·Congressmen who will be objecting to the electors
23· ·being seated.· We anticipate that each time they
24· ·do that they're going to go -- they'll separate
25· ·out, they'll have a debate for two hours, the


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·1· ·State of Georgia's electors will get seated, they
·2· ·will look at this evidence, as best they can, in
·3· ·such a way and it will be voted on by the House
·4· ·and Senate; and we anticipate that, and that will
·5· ·approve our certification was proper at the end of
·6· ·the day, and that we followed the process
·7· ·properly.
·8· · · · ·And I -- and I give you back to Senator Tom
·9· ·Cotton's statement from earlier today, he says
10· ·this is the process that we follow, this is the
11· ·appropriate step under the Constitution of the
12· ·laws in the State of Georgia, and the laws in the
13· ·United States.
14· · · · ·So with that, I want to say:· If you're a
15· ·Georgia voter, if you want your values reflected
16· ·by your elected officials, I strongly beg and
17· ·encourage you go vote tomorrow.· Do not let
18· ·anybody discourage you.· Do not self-suppress your
19· ·own vote.· Do not make a self-fulfilling prophecy
20· ·out of doing this.· Don't let anybody steal your
21· ·vote that way.
22· · · · ·And that's what's happening, if you
23· ·self-suppress you're -- you're taking away your
24· ·important voice from this election.
25· · · · ·So with that, I'll go ahead and take any


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·1· ·questions y'all got.· Sorry?· Oh, sorry.· I got
·2· ·(inaudible) microphone back there.· Justin?
·3· · · · ·JUSTIN:· Hey.· Yeah, is the Secretary of
·4· ·State or the State Election Board considering
·5· ·asking either the Fulton D.A., or the Georgia
·6· ·Attorney General, to investigate the call with the
·7· ·President over the weekend?
·8· · · · ·GABRIEL STERLING:· I do not know that.
·9· · · · ·JUSTIN:· Any discussions of that?
10· · · · ·GABRIEL STERLING:· Not that I'm aware of.
11· · · · ·REPORTER:· From all that you said there --
12· ·I mean, do you believe, as some have said, that
13· ·what happened in that phone call was -- was an
14· ·attack --
15· · · · ·GABRIEL STERLING:· I'm having a really hard
16· ·time hearing you.· I apologize.
17· · · · ·REPORTER:· I'll go there.· Do you believe
18· ·that some have said that this is an attack on
19· ·democracy --
20· · · · ·GABRIEL STERLING:· There we go.
21· · · · ·REPORTER:· You can hear that.· I'll start
22· ·again.
23· · · · ·GABRIEL STERLING:· Yes.
24· · · · ·REPORTER:· As some have said, do you
25· ·believe that what happened in that phone call was


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·1· ·an attack on democracy?
·2· · · · ·GABRIEL STERLING:· I'll leave other people
·3· ·to make the decision on that.· I personally found
·4· ·it to be something that was not normal, out of
·5· ·place, and -- and nobody I know who would be
·6· ·President would do something like that to a
·7· ·Secretary of State.
·8· · · · ·REPORTER:· Thank you.
·9· · · · ·GABRIEL STERLING:· Yes, Mark.
10· · · · ·MARK:· Afternoon.· Looking forward to
11· ·tomorrow.· Have you heard about any threats or
12· ·security problems or anything that could interfere
13· ·with people voting, and also what do you expect
14· ·turnout to be like tomorrow?
15· · · · ·GABRIEL STERLING:· Well, I anticipate there
16· ·will be a high turnout, and there's a -- there's a
17· ·large bucket of voters in -- in many congressional
18· ·districts that could potentially show up.· We
19· ·anticipate there could be any number of potential
20· ·threats out there that could be attempting to
21· ·encourage or discourage turnout.
22· · · · ·We encourage everybody to please turn out,
23· ·and be safe, be smart; and don't let anybody get
24· ·in the way of you casting your vote.
25· · · · ·MARK:· And have you heard about any


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·1· ·threats, will there be extra security?
·2· · · · ·GABRIEL STERLING:· We've discussed with
·3· ·GBI, FBI and sheriffs' departments potentially
·4· ·there being threats.· And we've seen some of that
·5· ·nature potentially out there that are under
·6· ·investigation.
·7· · · · ·Yes, ma'am.
·8· · · · ·REPORTER:· Hi.· Hi, Gabe.· Lane Alexander
·9· ·with NBC news.· Following up very quickly on
10· ·Justin's question:· Two members of the Board of
11· ·Elections, the state Board of Elections have
12· ·called on the Secretary of State's office to
13· ·investigate that phone call; how is the
14· ·Secretary's office responding, is there any plan
15· ·to investigate or will they block that -- will you
16· ·block that investigation anyway?
17· · · · ·GABRIEL STERLING:· I'm not aware of any
18· ·discussion specifically on that yet; but I'm sure
19· ·it will be taken under -- under advisement.
20· · · · ·REPORTER:· And I'll ask you very quickly
21· ·about the secretary's desire to have that phone
22· ·call recorded; why did he want that call recorded,
23· ·was he concerned about anything improper being
24· ·said or that he may need to release it later?
25· · · · ·GABRIEL STERLING:· I think given the


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·1· ·environment we're in right now, and political
·2· ·situation that we're in, and the history of the
·3· ·President -- knowing that he sometimes doesn't
·4· ·necessarily characterize things as they might have
·5· ·actually occurred, it was a -- out of an abundance
·6· ·of caution.· But I'm sure many people -- I'm sure
·7· ·the President's side recorded it, too.· So it --
·8· ·they might have been the ones that leaked part of
·9· ·that as well.
10· · · · ·REPORTER:· Thank you.
11· · · · ·REPORTER:· (Inaudible) with Fox News
12· ·National.· How do you interpret the President
13· ·asking the Secretary of State to, quote, find
14· ·votes on that phone call; is it fair to say the
15· ·President was asking the Secretary of State to
16· ·fraudulently find or flip votes?
17· · · · ·GABRIEL STERLING:· I don't know he was
18· ·trying to fraudulently find the votes; but the
19· ·thing is, we have certified this election, so
20· ·there are no more votes to find.· And we -- we
21· ·will continue investigations, and he has an
22· ·election challenge.· And one of the things they
23· ·were discussing on that phone call was they have
24· ·sued the State of Georgia and the Secretary of
25· ·State.


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·1· · · · ·There are rules of evidence to follow once
·2· ·you do that; trying to go outside of that is an
·3· ·issue.· And we've said -- we've said -- I believe
·4· ·we sent their -- our lawyers had sent their
·5· ·lawyers a letter saying:· If you want to dismiss
·6· ·your challenge, we're more than happy to share
·7· ·this data with you to show that your data is
·8· ·incorrect and you have, in fact, lost the State of
·9· ·Georgia.
10· · · · ·REPORTER:· The Bureau of Investigation says
11· ·there's an unprecedented number of threats
12· ·statewide; are you aware of any of those types of
13· ·threats (inaudible) --
14· · · · ·GABRIEL STERLING:· I'm sorry, I didn't --
15· ·the unprecedented number of threats, what?
16· · · · ·REPORTER:· The Bureau of Investigation says
17· ·that there's an unprecedented number of threats
18· ·that have come in statewide regarding the
19· ·election; we're not sure the nature of those
20· ·threats.
21· · · · ·Are you aware of what type of threats you
22· ·guys may --
23· · · · ·GABRIEL STERLING:· We're aware of some, but
24· ·we're trying to not discuss in too much detail
25· ·about that while they try to investigate and find


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·1· ·out what the actual nature of those threats may
·2· ·be.
·3· · · · ·REPORTER:· Hey, Gabe.· Konstantin Toropin
·4· ·with CNN.· So I -- this is now the second sort of
·5· ·conversation that the Secretary of State had --
·6· ·that has been reported out on this topic; first it
·7· ·was Lindsey Graham earlier in November, and now
·8· ·the President.
·9· · · · ·Has the -- has the Secretary of State's
10· ·office been contacted by any other members of the
11· ·Trump Administration or GOP officials?
12· · · · ·GABRIEL STERLING:· Well, I mean, our office
13· ·is contacted by Democrats/Republicans like pretty
14· ·consistently to discuss election issues.· So yes,
15· ·that -- that has occurred.· Specifically, I --
16· ·it's a little bit of a broad question, I think.
17· ·But we -- we get contacted by members of the
18· ·Administration.· We get contacted by Democrats.
19· ·We get (inaudible) by Republicans.
20· · · · ·REPORTER:· Have -- have you been contacted
21· ·by on -- the topic of these -- some of these
22· ·conspiracy theories that you've outlined today?
23· · · · ·GABRIEL STERLING:· I mean, no more than my
24· ·normal of having to explain the ridiculousness of
25· ·many this -- this disinformation.· So thank you


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·1· ·all very much.
·2· · · · ·REPORTER:· Excuse me.· The Secretary of
·3· ·State was asked by a federal judge to meet with
·4· ·Black Voters Matter to return wrongly (inaudible)
·5· ·purged voters back to the voter rolls.· Why do you
·6· ·refuse to meet with the Black Voters Matter before
·7· ·this vote?
·8· · · · ·This is the second time you've ducked this
·9· ·question.· And it's the third time you ducked
10· ·Black Voters Matter.· Okay.· Greg Powell
11· ·(inaudible) radio network.· Thank you.
12· · · · ·(End of the recording.)
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·1· · · · · · · · · ·C E R T I F I C A T E
·2
·3· · · · · · · · ·I, Jackie Mentecky, Transcriptionist/Court
·4· ·Reporter, do hereby certify that I was authorized to
·5· ·transcribe the foregoing recorded proceeding, and that
·6· ·the transcript is a true and accurate transcription of my
·7· ·shorthand notes to the best of my ability taken while
·8· ·listening to the provided recording.
·9
10· ·Dated this 7th day of January, 2021.
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14
15· · · · · · · · · · · · · · ·__________________________
16· · · · · · · · · · · · · · ·Jackie Mentecky
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